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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH A. DAOU and KAREN M. DAOU,

                        Plaintiff,

v.
                                                       Case No. 1:20-cv-4438-DLC
BLC BANK, S.A.L., CREDIT LIBANAIS,
S.A.L., AL-MAWARID BANK, S.A.L., and
BANQUE DU LIBAN,

                        Defendants.



  DECLARATION OF JEFFREY D. ROTENBERG IN SUPPORT OF DEFENDANTS’
      MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

       JEFFREY D. ROTENBERG declares pursuant to 28 U.S.C. § 1746:

       1.       I am a member of the bar of the State of New York and am admitted to the bar of

this Court. I am a partner with the law firm of DLA Piper LLP (US), attorneys for Defendants

BLC Bank, S.A.L. (“BLC”), and Credit Libanais, S.A.L. (“CL”).

       2.       This declaration, together with the annexed exhibits, is being submitted in support

of BLC and CL’s Motion to Dismiss plaintiffs Joseph Daou and Karen Daou’s (“Plaintiffs”) First

Amended Complaint (see ECF No. 50).                                              ST

       3.       Attached hereto as Exhibit 1 is a true and correct copy of the Declaration of Elias

Joseph Abimrad, General Controller, Head of Group Internal Audit at CL, dated and duly executed

October 7, 2020.

       4.       Attached hereto as Exhibit 2 is a true and correct redacted copy of the Declaration

of Bassam Farid Hassan, Chief Executive Officer at BLC, dated and duly executed October 8, 2020.

Pursuant to the Honorable Judge Cote’s Individual Rules and Practices (the “Individual Rules”)


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7(A) and Federal Rule of Civil Procedure (“FRCP”) 5.2(a)(4), Exhibit 2 contains redactions of

financial account numbers.

       5.         Attached hereto as Exhibit 3 is a true and correct copy of the CL “Agreement for

Opening an Account / Accounts in Our Names at Your Bank With a Request To Issue Bank

Payment Cards and Subscribe to the Bank’s Electronic Services,” dated March 9, 2016, duly

executed by Joseph Daou on March 9, 2016, and duly executed by Karen Daou on March 21, 2019.

Pursuant to Individual Rule 7(A) and FRCP 5.2(a), Exhibit 3 contains redactions of a financial

account number.

       6.         Attached hereto as Exhibit 4 is a true and correct copy of the BLC “General

Operating Conditions Governing BLC Bank S.A.L.’s Accounts, Products And Services,” dated

and duly executed by Joseph Daou on April 26, 2016. Pursuant to Individual Rule 7(A) and FRCP

5.2(a), Exhibit 4 contains redactions of a financial account number.

       7.         Attached hereto as Exhibit 5 is a true and correct copy of the BLC “General

Operating Conditions Governing BLC Bank S.A.L.’s Accounts, Products And Services,” dated

and duly executed by Karen Daou on April 27, 2016. Pursuant to Individual Rule 7(A) and FRCP

5.2(a), Exhibit 5 contains redactions of a financial account number.

       8.         Attached hereto as Exhibit 6 is a true and correct copy of the Wall Street Journal

article, Lebanese Protests Triggered by WhatsApp Tax Rattle Government, by Nazih Osseiran and

Dion Nissenbaum, dated October 18, 2019, 12:53 pm ET, last accessed October 9, 2020, and

available    at    https://www.wsj.com/articles/lebanese-protests-triggered-by-whatsapp-tax-rattle-

government-11571413218.

       9.         Attached hereto as Exhibit 7 is a true and correct copy of the Financial Times

article, High Debt, High Deficit: Lebanon’s Economic Woes Fuelling Protests, by Heba Saleh,



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dated   October    31,   2019,    last   accessed     October   9,   2020,    and    available      at

https://www.ft.com/content/c15c88de-fa35-11e9-98fd-4d6c20050229.

        10.    Attached hereto as Exhibit 8 is a true and correct copy of the Wall Street Journal

article, Political Upheaval Tests Lebanon’s Finances, by Nikhail Lohade and Nazih Osseiran,

dated November 8, 2017, 10:50 am ET, last accessed October 9, 2020, and available at

https://www.wsj.com/articles/political-upheaval-tests-lebanons-finances-1510156247.

        11.    Attached hereto as Exhibit 9 is a true and correct copy of the Al Jazeera article,

Lebanon’s Banks Reopen After Two-week Closure, by Timour Azhari, dated November 1, 2019,

last accessed October 9, 2020, and available at

https://www.aljazeera.com/economy/2019/11/1/lebanons-banks-reopen-after-two-week-closure.

        12.    Attached hereto as Exhibit 10 is a true and correct copy of the Reuters article,

Queues Build at Lebanese banks Reopening After One-Week Closure, dated November 19, 2019,

2:37 am ET, last accessed October 9, 2020, and available at https://reuters.com/article/us-lebanon-

protests-banks-idUSKBN1XT0TR.

        13.    Attached hereto as Exhibit 11 is a true and correct copy of the Reuters article,

Banks Erect Financial "Fence" as Crisis Sweeps Lebanon - Association Head, by Tom Perry,

dated November 20, 2019, 11:48 am ET, last accessed October 9, 2020, and available at

https://www.reuters.com/article/us-lebanon-protests-banks/banks-erect-financial-fence-as-crisis-

sweeps-lebanon-association-head-idUSKBN1XU278.

        14.    Attached hereto as Exhibit 12 is a true and correct copy of the Reuters article, IMF

Says Lebanon Requests Technical Help on Economy, by Reuters Staff, dated February 12, 2020,

5:29 am ET, last accessed October 9, 2020, and available at https://www.reuters.com/article/us-

lebanon-crisis/imf-says-lebanon-requests-technical-help-on-economy-debt-idUSKBN2061A6.



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        15.      Attached hereto as Exhibit 13 is a true and correct copy of the Al Arabiya article,

Lebanon Government Approves Financial Economic Plan, by Lauren Holtmeier, dated April 30,

2020, last accessed October 9, 2020, and available at

https://english.alarabiya.net/en/News/middle-east/2020/04/30/Lebanon-government-approves-

financial-economic-plan.

        16.      Attached hereto as Exhibit 14 is a true and correct copy of the International

Monetary Fund (“IMF”) press release, Statement by IMF Managing Director Kristalina Georgieva

on the International Conference on Support to Beirut and the Lebanese People, dated August 9,

2020,         last     accessed       October         9,      2020,       and      available       at

https://www.imf.org/en/News/Articles/2020/08/09/pr20278-statement-by-imf-md-kristalina-

georgieva-int-conference-support-beirut-lebanese-people.

        17.      Attached hereto as Exhibit 15 is a true and correct copy of the Declaration of

Patrick Soumrani, Lebanese legal expert, dated and duly executed October 7, 2020.

        18.      Attached hereto as Exhibit 16 is a true and correct copy of the Declaration of Nasri

Antoine Diab, Lebanese legal expert, dated and duly executed October 9, 2020.

        19.      Attached hereto as Exhibit 17 is a true and correct copy of the BLC Instruction

Notice, directed “To the attention of BLC Bank sal,” with the “Subject: Sending Instructions via

Email,” and duly executed by Joseph Daou. Pursuant to Individual Rule 7(A) and FRCP 5.2(a),

Exhibit 17 contains redactions of the day and month of Mr. Daou’s birthdate and redactions of a

financial account number.

 Dated: November 20, 2020
        New York, New York                              /s/ Jeffrey D. Rotenberg
                                                       Jeffrey D. Rotenberg




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I am one of the attorneys for the defendant in this action and that on

November 20, 2020, I caused a copy of the foregoing to be filed with the Court’s ECF system,

which will cause notice of its filing to be served electronically upon all counsel who have appeared

in this action.



                                              /s/ Jeffrey D. Rotenberg
                                              Jeffrey D. Rotenberg
